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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


Jody Glemza,

         Plaintiff,
vs.                                            Case No. 0:22-cv-1892

United of Omaha Life Insurance
Company                                        COMPLAINT

         Defendant.




Plaintiff, for her Complaint against Defendant, states and alleges:

      1. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

and 29 U.S.C. § 1132(e)(1) and (f) of the Employee Retirement Income

Security Act of 1974 (“ERISA”) over this claim for disability benefits under a

plan governed by ERISA, 29 U.S.C. § 1001 et seq.

      2. Venue is proper in this district pursuant to 29 U.S.C. § 1132 (e)(2) 1,

because United of Omaha Life Insurance Company may be found in this

district. In particular, United of Omaha Life Insurance Company is registered as

a corporation with the State of Minnesota, conducts ongoing business with



1
 29 U.S.C. § 1132 (e)(2) states “Where an action under this subchapter is
brought in a district court of the United States, it may be brought in the district …
where a defendant resides or may be found…”
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Minnesota residents, employs Minnesota residents, has extensive contacts

within Minnesota, and accordingly is found within Minnesota.

   3. On information and belief, Defendant United of Omaha Life Insurance

Company insures the employee benefit plan (“Plan”) that Mitutoyo America

Corporation created and maintains to provide its employees with income

protection should they become disabled.

   4. On information and belief, Defendant United of Omaha Life Insurance

Company is a corporation organized and existing under the laws of the State of

Nebraska, and is the insurer and claims administrator for the Plan.

   5. Plaintiff is a resident and citizen of the United States, an employee of

Mitutoyo America Corporation and a participant in the Plan.

   6. As set forth in 29 U.S.C. § 1133 of the ERISA statute, the Plan provides

a mechanism for administrative appeals of benefit denials. Plaintiff has

exhausted all such appeals.

   7. On information and belief, Plaintiff was covered at all relevant times

under group disability policy number GLTD-BJ8X which was issued by United

of Omaha Life Insurance Company to Mitutoyo America Corporation to insure

the participants of the Plan. A copy of the policy is attached as Exhibit A.

   8. On information and belief, United of Omaha Life Insurance Company

both funds the Plan and decides whether participants will receive benefits under



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the Plan. Accordingly, United of Omaha Life Insurance Company has a conflict

of interest, which must be considered when determining whether its denial of

Plaintiff’s benefits was proper. 2

    9. United of Omaha Life Insurance Company’s interest in protecting its own

assets influenced its decision to deny Plaintiff’s application for disability

benefits.

    10.      The Plan is an ERISA welfare benefit plan.

    11.      Under the Plan, a participant who meets the definition of

“disabled” is entitled to disability benefits paid out of the Plan assets.

    12.      Under the Plan, participants meeting the definition of “disabled”

are also eligible for continuation of life insurance coverage, and a waiver of

premiums for such life insurance coverage.

    13.      Plaintiff became disabled under the terms of the Plan’s policy on or

about December 15, 2020 and continues to be disabled as defined by the Plan.

Accordingly, Plaintiff is entitled to benefits under the terms of the Plan.

    14.      Plaintiff submitted a timely claim to United of Omaha Life

Insurance Company for disability benefits.




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 “[A]n entity that is both the claims administrator and payor of benefits has a
conflict of interest.” Jones v. Mountaire Corp. Long Term Disability Plan, 542
F. 3d 234, 240 (8th Cir. 2008).

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   15.        United of Omaha Life Insurance Company denied Plaintiff’s claim

for disability benefits. Plaintiff appealed United of Omaha Life Insurance

Company’s decision, but United of Omaha Life Insurance Company denied

Plaintiff’s appeal on June 3, 2022. Plaintiff filed a further appeal, which United

of Omaha Life Insurance Company denied on June 3, 2022.

   16.        Plaintiff provided United of Omaha Life Insurance Company with

substantial medical evidence demonstrating she was eligible for disability

benefits.

   17.        United of Omaha Life Insurance Company’s decision to deny

disability benefits was unreasonable, irrational, wrongful, contrary to the terms

of the Plan, contrary to the evidence and contrary to law, as demonstrated by

the following non-exhaustive examples:

            a. United of Omaha Life Insurance Company failed to have Plaintiff

              independently examined, and instead relied on the opinion of a

              medical professional who merely reviewed Plaintiff’s medical

              records and rejected the opinion of Plaintiff’s treating physician;

            b. United of Omaha Life Insurance Company relied on the opinion of

              a medical professional who was financially biased by their

              relationship with United of Omaha Life Insurance Company and as

              such unable to offer an unbiased opinion;



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         c. United of Omaha Life Insurance Company relied on the opinion of

            a medical professional that was not supported by substantial

            evidence in the claim file, and was inconsistent with the overall

            evidence in the record;

         d. United of Omaha Life Insurance Company relied on the opinion of

            a medical professional who was not qualified to refute the findings

            of Plaintiff’s physicians;

         e. United of Omaha Life Insurance Company ignored obvious

            medical evidence and took selective evidence out of context as a

            means to deny Plaintiff’s claim;

         f. United of Omaha Life Insurance Company ignored and/or

            misrepresented the opinions of Plaintiff’s treating physicians.

   18.       United of Omaha Life Insurance Company abused any discretion it

had in denying Plaintiff’s claim.

   19.      The decision to deny benefits was wrong under the terms of the

Plan.

   20.      United of Omaha Life Insurance Company’s failure to provide

benefits due under the Plan constitutes a breach of the Plan.

   21.      United of Omaha Life Insurance Company’s failure to provide

Plaintiff with disability benefits has caused Plaintiff to be deprived of those



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benefits from June 3, 2021 to the present. Plaintiff will continue to be deprived

of those benefits, and accordingly will continue to suffer future damages in an

amount to be determined.

   22.       United of Omaha Life Insurance Company’s denial of benefits

under the Plan has caused Plaintiff to incur attorneys’ fees and costs to pursue

this action. Pursuant to 29 U.S.C. § 1132(g)(1), Defendants should pay these

costs and fees.

   23.       A dispute now exists between the parties over whether Plaintiff

meets the definition of “disabled” under the terms of the Plan. Plaintiff requests

that the Court declare she fulfills the Plan’s definition of “disabled,” and is

accordingly entitled to all benefits available under the Plan. Plaintiff further

requests reimbursement of all expenses and premiums she paid for benefits

under the Plan from the time of denial of benefits to the present. In the

alternative of the aforementioned relief, Plaintiff requests that the Court remand

and instruct United of Omaha Life Insurance Company to adjudicate Plaintiff’s

claim in a manner consistent with the terms of the Plan.

      WHEREFORE, Plaintiff respectfully requests the following relief against

Defendant:

   1. A finding in favor of Plaintiff against Defendant;




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  2. Pursuant to 29 U.S.C. § 1132(a)(1)(B), damages in the amount equal to

     the disability income benefits to which Plaintiff is entitled through the

     date of judgment;

  3. Prejudgment and postjudgment interest, calculated from each payment’s

     original due date through the date of actual payment;

  4. Any Plan benefits beyond disability benefits that Plaintiff is entitled to

     while receiving disability benefits, including but not limited to

     reinstatement of Plaintiff’s life insurance coverage and a waiver of

     premiums;

  5. Reimbursement of all expenses and premiums Plaintiff paid for benefits

     under the Plan from the time of denial of benefits to the present.

  6. A declaration that Plaintiff is entitled to ongoing benefits under the Plan

     so as long as Plaintiff remains disabled under the terms of the Plan;

  7. Reasonable costs and attorneys’ fees incurred in this action;

  8. Any other legal or equitable relief the Court deems appropriate.



Dated: July 28, 2022                 RESPECTFULLY SUBMITTED,

                                     By: /s/ Annie E. Surbaugh

                                     Annie E. Surbaugh (MN Bar # 0401050)
                                     Zach Schmoll (MN Bar # 0396093)
                                     FIELDS LAW FIRM



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